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                                                            IN THE CIRCUIT COURT OF THE 11™
                                                            JUDICIAL CIRCUIT IN AND FOR
                                                            MIAMI DADE COUNTY, FLORIDA

                                                            CASE NO. /}>~ 0/C?O?                         <T-4 <=> (
        MATIAS NAVARRO

               Plaintiff,

        v.



        CRYSTAL CRUISES, LLC and
        INTERNATIONAL CRUISE
        SERVICES, LTD. (BAHAMAS)

               Defendants
                                             /


                            COMPLAINT AND DEM.AND FOR JURY TRIAL

             Plaintiffsues Defendant and alleges:

               1. This is an action seeking damages in excess of $15,000.00.

                2. Defendants, at all times material hereto, personally or through an agent;

               a. Operated, conducted, engaged in or carried on a business venture in this state

              and/or county or had an office or agency in this state and/or county;

              b. Were engaged in substantial activity within this state;

              C. Operated vessels in the waters of this state;

              d. Committed one or more of the acts stated in Florida Statutes, Sections 48.081,

              48.181 or 48.193;

              e. The acts of Defendants set out in this Complaint occurred in whole or in part in this

              county and/or state.

              3. Defendants are subject to the jurisdiction of the Courts of this state.




                                                                                                   EXHIBIT
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               4. The causes of action asserted in this Complaint arise under the Jones Act, 46 U.S.C.

      Section 30104, and the General Maritime Law of the United States.

               5. At all limes material hereto, Defendant CRYSTAL CRUISES, LLC owned,

      operated, managed, maintained and/or controlledthe vessel Crystal Serenity.This vessel was

      registered in a flag of convenience country.

              6. At ail times material hereto, Plaintiffs employer was an agent of the shipowner

      and/or ship operator.

              7. Defendants waived any rights they may have had to arbitration.

                                                 COUNT I
                                       JONES ACT NEGLIGENCE

              8. Plaintiffrealleges, incorporates byreference, and adopts paragraphs one through six

      as though they were originally alleged herein.

              9. On or      about    May    21, 2015, Plaintiff was employed          by Defendant

      INTERNATIONAL CRUISE SERVICES, LTD. (BAHAMAS) as a seaman and was a

      member of the Defendant CRYSTAL CRUISES, LLC's vessel's crew. The vessel was in

      navigable waters.

              10. It was the duty of Defendant to provide Plaintiffwith a safe place to work.

              11. On or about the above referenced date, Plaintiffwas injured while aboard the vessel

      as follows: Plaintiff was injured due to repetitive and/or heavy lifting while working,
      including lifting and carrying of mattresses and trays. After Plaintiff was injured, Defendant

      required him to continue repetitive and/or heavy lifting duties and did not provide him with

      prompt, proper, or adequate medical treatment which caused him injuries and/or aggravated

      his injuries.

              12. Plaintiffs injuries are due to the fault and negligence of Defendant, and/or its
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       agents, servants, and/or employees as follows:

              a. Failure to use reasonable care to provide and maintain a proper and adequate
             machinery, crew and equipment;

               b. Failure to use reasonable care to provide Plaintiff a safe place to work;
             c. Failure to promulgate and enforce reasonable rules and regulations to insure the
             safety and health ofthe employees and more particularly the Plaintiff, while engaged
             in the course of his employment on said vessel.

             d. Failure to use reasonable care to provide Plaintiff a safe place to work due to: 1.

             Required Plaintiff to lift items which were too heavy for one person to safely lift,
             and/or; 2. Failed to warn the Plaintiffof the dangers of doing repetitive heavy lifting

            and/or heavy lifting and/or repetitive lifting, and/or; 3. Failed to provide Plaintiff

            with proper training and/or supervision with respect to repetitive heavy lifting and/or

            heavy lifting and/or repetitivelifting; and/or 4. Failed to provide adequate manpower

            to perform the work assigned to Plaintiff; and/or 5. Failed to provide Plaintiff with

            sufficient trolleys and/or mechanical devices to assist him with respect to heavy lifting

            and/or repetitive heavy lifting; 6. Created a working environment where crew

            members are discouraged and/or unable to assist each other with duties, and/or 7.

            Perpetuating a working environment where crew members are discouraged and/or

            unable to assist each other in work duties, and/or 8. Failed to provide Plaintiff with

            adequate safety devices, proper liftingbelt or other similar back support device, all of

            which caused Plaintiff to become injured.          After Plaintiff became injured: 9.

            Defendant required Plaintiff to continue repetitive lifting and/or heavy lifting duties;

            and/or 10. Sent Plaintiff back to work after his injury on pain killers, and/or II.

            Required the Plaintiff to work with an injury, and/or 12. Sent Plaintiffback to work

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            after his initial injury while still injured and on pain killers, and/or 13. Created a work
            environment where crew members are encouraged to return to work with injuries,
            and/or 14. Required the Plaintiff to do heavy and/or repetitive lifting while injured,
            and/or 15. Failed to warn Plaintiff ofthe dangers of working with an injury, and/or
            16. Failed to wam Plaintiffofthe dangers ofworking injured onpain killers, 17. Failed

            to properly diagnose and/or treat Plaintiffs injuries; and/or 18. Failed to provide

           Plaintiff with prompt, proper and adequate medical treatment, all of which further

           injured Plaintiff and/or aggravated Plaintiffs injuries.

           e. Failure to provide adequate instruction, and supervision to crew members and

           Plaintiff;

           f. Failure to provide prompt, proper, and adequate medical care which aggravated

           Plaintiffs injuries and caused him additional pain and disability;

            g. Failure to provide Plaintiff and other crew members who were associated with

           plaintiff or piaintifTs incident giving rise to this action, reasonable hours of

           employment so as to not overwork them to the point of not being physically fit to carry

           out their duties. Defendants employees are overworked to the point of fatigue.

           h. Defendant have failed to learn and apply the common and well known principles

           of industrial ergonomics on board the vessel;

            i. Defendant used outmoded work methods and procedures and neglected modern

           material handling techniques;

           j. Defendant failed to train workers properly, such as Plaintiff and the work crews are

           undersized. As a result Defendant is having small work crews doing jobs traditionally

           handled by larger crews;
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             k. Defendant failed to provide Plaintiff with mechanized aids commonly available in

           other heavy industries.

            1. Failure to ascertain the cause of prior similar accidents so as to take measures to

           prevent their re-occurrence, and more particularly Plaintiffs accident;

           m. Failure to follow sound management practices with thegoal of providing

           Plaintiff a safe place to work.

            n. Prior to Plaintiffs accident Defendant failed to investigate the hazards to Plaintiff

           and then take the necessary steps to eliminate the hazards, minimize the hazard or

           warn Plaintiff of the danger from the hazard.

           o. Defendant failed to perform an adequate pre-employment physical on Plaintiff so

           as to determine the dangers to Plaintiff of working on the vessel,

           p. Defendants failed to adhere to the Seafarers' Hours of Work and the Manning of

           Ships Convention, 1996: with respect to the hours of work and rest as well as other

           standards such as ILO 347.

           q. Defendants failed to select and utilize competent, skilled and properly trained

           medical care providers with proper and adequate medical equipment with respect to

           the PiaintifTs medical care.

           r. Defendants failed to provide plaintiff with enough sleeping time so as to cause

           plaintiff and the other crew members on the vessel the same physical and mental

           impairments as being drunk. These type of impahments have been documented in the

           Journal of Occupational and Environmental Medicine; 57:649-655 (October 2000).

           s. Defendants failed to properly medically manage Plaintiffs medical care after

           Plaintiff was injured.
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               t. At all times material hereto, Defendant negligently failed to determine the hazards

               on the vessel to Plaintiff, failed to eliminate the hazard, failed to modify the hazard

               and failed to properly warn Plaintiffof the hazard. In addition, Defendant violated the

               International Safety Management Code and failed to have a proper, adequate and safe
              Safety ManagementSystemManual. All of the above causedthe Plaintiffto be injured.

               13. Defendant knew of the foregoing conditions causing Plaintiffs accident and did

      not correct them, or the conditions existed for a sufficient length of time so that Defendant in

      the exercise of reasonable care should have learned of them and corrected them.

              14. As a result of the negligence ofDefendant, the Plaintiff was injured about Plaintiffs

      body and extremities, suffered physical pain and suffering, mental anguish, reasonable fear of

      developing future physical and medical problems, lossof enjoyment of life, physical disability,

      impairment, inconvenience on the normal pursuits and pleasures of life, feelings of economic

      insecurity caused by disability, disfigurement, aggravation of any previously existing

      conditions therefrom, incurred medical expenses in the care and treatment of Plaintiffs

      injuries, suffered physical handicap, lost wages, income lost in the past, and his working

      ability and earning capacity has been impaired. The injuries and damages are permanent or

      continuing in nature, and Plaintiff will suffer the Josses and impairments in the future. In

      addition Plaintiff in the past and in the future has lost the fringe benefits that come with
      Plaintiffs job, including but not limited to found, free food, free shelter, tree medicalcare, free

      uniforms, vacation, and free airline ticket home and back.

              WHEREFORE, Plaintiffdemands all damages entitled by law and demands jury trial

      of all issues so triable.

                                              COUNT U
                                          UNSEAWORTHINESS
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              15. Plaintiff realleges, incorporates by reference and adopts paragraphs one through
      fourteen as though they were originally alleged herein.

             16. On or about the previously stated date, Plaintiff was a seaman and a member of

      thecrew ofDefendant's vessel, which was in navigable waters.

             17. At all times material hereto, the vessel was owned, managed, operated and/or

      controlled by Defendant.

             18. Defendant had the absolute nondelegable duty to provide Plaintiff with a

      seaworthy vessel.

             19. On or about the previously stated date the unseaworthiness of Defendant's vessel

      was a legal cause of injury and damage to Plaintiff by reason of the following:

             a. The vessel was unsafe and unfit due to the conditions created by Defendant as

             follows: 1. Required Plaintiffto lift items which were too heavy for one person to safely

             lift, and/or; 2. Failed to warn the Plaintiff of the dangers of doing repetitive heavy

             lifting and/or heavy lifting and/or repetitive lifting, and/or; 3. Failed to provide

            Plaintiffwith proper trainingand/or supervision with respect to repetitive heavy lifting

            and/or heavy lifting and/or repetitive lifting; and/or 4. Failed to provide adequate

            manpower to perform the work assigned to Plaintiff; and/or 5. Failed to provide

            Plaintiffwith sufficient trolleys and/or mechanical devices to assist him with respect

            to heavy lifting and/or repetitive heavy lifting; 6. Created a working environment

            where crew members are discouraged and/or unable to assist each other with duties,

            and/or 7. Perpetuating a working environment where crew members are discouraged

            and/or unable to assist each other in work duties, and/or 8.          Failed to provide

            Plaintiff with adequate safety devices, proper lifting belt or other similar back support

            device, all of which caused Plaintiff to become injured.         After Plaintiff became

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               injured: 9. Defendant required Plaintiff to continue repetitive lifting and/or heavy
               lifting duties; and/or 10. Sent Plaintiff back to work after his injury on pain killers,
              and/or 11. Required the Plaintiff to work with an injury, and/or 12. Sent Plaintiff
              back to work after his initial injury while still injured and on pain killers, and/or 13.
              Created a work envuonment where crew members are encouraged to return to work
              with injuries, and/or 14. Required the Plaintiffto do heavy and/or repetitive lifting
              while injured, and/or 15. Failed to warn Plaintiff ofthe dangers ofworking with an
              injur,', and/or 16. Failed to warn Plaintiff ofthe dangers ofworking injured on pain
              killers, 17. Failed to properly diagnose and/or treat Plaintiffs injuries; and/or 18.

              Failed to provide Plaintiff with prompt, proper and adequate medical Deatment, all of

              which further injured Plaintiff and/or aggravated Plaintiffs injuries,

              b. The vessel was not reasonably tit for its intended purpose;

              c. The vessel's crew was not properly trained, instructed or supervised;

              d. The vessel did not have a fit crew;

             e. The vessel did not have adequate manpower for the task being performed;

              f. The crew and Plaintiff were overworked to the point of being exhausted and not

      physically fit to carry out their duties.

             20. As a result of the unseaworthiness of the vessel, the Plaintiff was injured about

      Plaintiffs body and extremities, suffered physical pain and suffering, mental anguish,

      reasonable fear of developing future physical and medical problems, loss of enjoyment of life,

      physical disability, impairment, inconvenience on the normal pursuits and pleasures of life,

      feelings of economic insecurity caused by disability, disfigurement, aggravation of any

      previously existing conditions therefrom, incurred medical expenses in the care and treatment

     of Plaintiffs injuries, suffered physical handicap, lost wages, income lost in the past, and

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       Plaintiffs working ability and earning capacity has been impaired. The injuries and damages
       are permanent or continuing in nature, and Plaintiff will suffer the losses and impairments in

       the future. In addition Plaintiff in the past and in the future has lost the fringe benefits that
      come with Plaintiff's job, including but not limited to found, free food, free shelter, free

      medical care, free uniforms, vacation, and free airline ticket home and back.

              WHEREFORE, Plaintiff demands all damages entitled by law and demands jury trial

      of all issues so triable.


                                                countm
                        FAILURE TO PROVIDE MAINTENANCE AND CURE

             21. Plaintiff realleges, incorporates by reference, and adopts paragraphs one through

      twenty as though they were originally alleged herein.

             22. On or about the previously stated date, Plaintiff while in the service of the vessel

      as a crew member was injured.

             23. Under the General Maritime Law and by operation of treaty, Plaintiff, as a

      seaman, is entitled to recover maintenance and cure from Defendant, until he is declared to

      have reached maximum possible cure. This includes unearned wages (regular wages,

      overtime, vacation pay and tips), which are reasonably anticipated to the end of the contract

      or voyage whichever is longer.

             24. Defendant did not timely diagnose and/or treat Plaintiffs injuries and required

      him to continue to work injured. Defendant failed to provide Plaintiff with prompt, proper

      and adequate medical treatment for his injuries and other injuries/illnesses developed while

      in the service of the vessel.    Defendant failed to authorize and/or provide Plaintiff with

      medical treatment recommended by his medical care providers. Defendant failed to provide

      Plaintiff with timely maintenance and cure benefits.       Defendant prematurely terminated
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        Plaintiffs maintenance and cure benefits.          Defendant failed to re-instate Plaintiffs

       maintenance and cure benefits.

               25. Defendant willfully and callously delayed, failed and refused to pay Plaintiffs
       entire maintenance and cure so that Plaintiff has become obligated to pay the undersigned a
       reasonable attorney's fee. In addition Defendant is late in paying the maintenance and cure.

               26. Defendant's failure to pay Plaintiffs entire maintenance and cure is willful,

       arbitrary, capricious, and in callous disregard for Plaintiffs rights as a seaman. As such,

       Plaintiff would be entitled to attorney's fee under the General Maritime Law of the United

       States. Further Defendant unreasonably failed to pay or provide Plaintiff with maintenance

       and cure which aggravated his condition and caused Plaintiff to suffer additional

       compensatoiy damages including but not limited to the aggravation of Plaintiffs physical

       condition, disability, pain and suffering, reasonable fear of developing future physical and

       medical problems, mental anguish, loss of enjoyment of life, feelings of economic insecurity

       as wellas lostearnings or earning capacity, and medical and hospital expenses in the past and

       into the future.

              WHEREFORE, Plaintiff demands all damages entitled by law, attorneys fees and

       demands jury trial of all issues so triable.

                                                  COUNT IV
                                            FAILURE TO TREAT

              27. Plaintiff realleges, incorporates by reference and adopts paragraphs one through

      twenty-six as though originally alleged herein.

              28. On or about the previously stated date, Plaintiff was employed by Defendant as a

      seaman and was a member of the vessel's crew. The vessel was in navigable waters.

              29. It was the duty of Defendant to provide Plaintiff with prompt, proper and adequate


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       medical care.


              30. Defendant through the ship's physicians, and/orshorcside physicians and nurses
       negligently failed to promptly provide Plaintiff with prompt, proper, adequate, and complete
       medical care. This conduct includes, but is not limited to:

              a. Defendant not giving Plaintiffadequate and prompt medical care after his initial

              injury and/or when he reported pain and problems from injury; and/or

             b. Defendant sending Plaintiffback to work after hebecame injured which aggravated

             his injuries and made them worse, and/or

             c. Defendant sending Plaintiff back to work on pain killers after he became injured

             which aggravated his injuries and made them worse, and/or

             d. Defendant not adequately diagnosing the Plaintiff, which led to inadequate care,

             all of which aggravated, his condition and/or

             e.    Failing to       authorize and/or provide     Plaintiff with medical treatment

             recommended by his medical care providers, and/or

             f. Failing to follow the doctor's recommendations for Plaintiffs treatment and/or rest

             and/or restrictions.


             g. Defendant prematurely terminating Plaintiffs medicalcare and not providing him

             with all the recommended medical care.

             31.   As a direct and proximate result of Defendants' failure, Plaintiff suffered

             additional pain, disability and/or Plaintiffs recovery was prolonged.

             32. In addition, the Plaintiff was injured about Plaintiffs body and extremities, suffered

      physical pain and suffering, mental anguish, reasonable fear of developing future physical and

      medical problems, loss of enjoyment of life, physical disability, impairment, inconvenience

      on the normal pursuits and pleasures of life, feelings of economic insecurity caused by

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       disability, disfigurement, aggravation of any previously existing conditions therefrom,
       incurred additional medical expenses in the care and treatment ofPlaintiffs injuries, suffered
       physical handicap, lost wages, income lost in the past, and Plaintiffs working ability and
       earning capacity has been impaired. The injuries and damages are permanent or continuing
       in nature, and Plaintiffwill suffer the losses and Impairments in the future.

               33. This Count is alleged separately from Jones Act Negligence pursuant to Joyce v.
       Atlantic Richfield Company, 651 F.2d 676 (10th Cir. 1981) which states, in part, "Negligent

       failure to piovide prompt medical attention to a seriously injured seaman gives rise to a

       separate claim for relief [forwhich separate damages are awardable]."

               WHEREFORE, Plaintiffdemands all damages entitled by law and demandsjury trial

       of all issues so triable.

                                              COUNT V
                                         BREACH OF CONTRACT

               34.     Plaintiff realleges, incorporates by reference and adopts paragraphs one

      through thirty-three as though originally alleged herein.

              35.      Plaintiff and Defendant entered into an employment contract which

      incorporated a Collective Bargaining Agreement.

               36.     Pursuant to the contract, Plaintiff is entitled to, regardless of fault: medical

      treatment, maintenance, monthly total guaranteed wages, montlily guaranteed sick wages of

      at least 51,600 USD a month, merit pay, up to 130 days after sign off. (See Article 22).

              37.      According to the CBA, Article 25 - Disability, "A Seafarer whose ability to

      perform his/her specific duties on board and whose degree of disability is assessed to be 50%

      or more shall, for the purpose of this Article, be regarded as permanently unfit for further sea

      service and shall therefore be entitled to 100% disability compensation.


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               38.     Dr. Mendoza placed Plaintiff at 60% disability.

               39.     Mr. Navarro is entided to 100,000 USD pursuant to the CBA.

               40.     Defendants have failed to provide Plaintiff with the disability benefit and has
       failed to comply with the other contractual obligations.

               WHEREFORE, Plaintiff demands all damages entitled by law and demands jury trial

       of all issues so triable.




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